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                                                                            SHARE:
ORIGINSTHE COLD WARTHE FALL OF THE WALL9/11 AND BEYOND



                                                             The Cold War

                                                        SYMBOLS


THE NATO STRAP: MORE THAN A FASHION
STATEMENT
In recent years, popularity over the simple, yet iconic, stainless steel watch bracelet with
customisable stripes has been all the buzz in the watch industry. This trendy accessory comes in a
variety of colours and sizes. In truth, the longstanding tradition behind the design and features of
the NATO strap is rooted in military practicality.




https://www.nato.int/cps/en/natohq/declassified_149972.htm                                                  1/3
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       Photo by Francis Flinch




The initial debut of the NATO strap was by the British Ministry of Defence (MoD) in 1973. Back then,
there was only one version and it had a singular tone: admiralty grey. Nicknamed the G-10, British
Special Forces were required to fill out a G-1098 form before being issued the strap.
The material of the strap was nylon and had a width of 20mm. The buckles were chrome-plated
brass and held an appeal within the military for its durability and practicality. With two spring bars
and added length so troops could wear a watch on top of their uniforms, the design ensured that
watches would stay secure on the wrist.




https://www.nato.int/cps/en/natohq/declassified_149972.htm                                                  2/3
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       Photo by Harland Quarrington – MoD




Soon after the initial roll-out to the British Special Forces, the strap was modified to uniquely
represent different British military regiments. Where the term “NATO” derives from is due to the
alphanumeric code used in the British MoD to identify all standardised material items of supply.
The code was called the NATO Stock Number (NSN).
So, while the NATO strap is not actually a NATO-branded strap, it is an important article of clothing
that was used by forces of a NATO member country.
Moreover, while many might assume the most iconic featurette of the strap was seen in the first
four James Bond films, the shots of the watch worn by Sean Connery in Goldfinger were actually
filmed nine years before the launch of the original NATO strap back in 1973. Even so, the appeal of
the striped nylon band holding Bond’s Rolex Submariner in place echoes a similar style and fashion
to that of a true NATO strap, to the extent that is was called the “Bond NATO”.
Beyond aesthetic, the NATO straps worn by civilians today retain the same appeal to durability and
practicality as in its design at the outset.




https://www.nato.int/cps/en/natohq/declassified_149972.htm                                                  3/3
